Case 2:20-cv-02140-SB-JPR Document 19 Filed 08/31/20 Page 1 of 5 Page ID #:76
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  7                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
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  9    MELISSA MEYER                             Case No.
                                                 2:20−cv−02140−FMO−JPR
  10                 Plaintiff(s),

  11        v.                                   ORDER Re: MOTIONS FOR CLASS
                                                 CERTIFICATION
     DIRECT RECOVERY SERVICES,
  12 LLC, et al.
  13             Defendant(s).
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  16        A deadline for motion for class certification¹ has been set in the above-

  17   captioned case. Any motion(s) for class certification shall comply with all Federal

  18   Rules of Civil Procedure and Local Rules, as well as this Order. Please be advised

  19   that this Order contains requirements more specific than the Local Rules and
  20   Federal Rules of Civil Procedure.
  21        1. Joint Brief: The parties shall work cooperatively to create a single,

  22   fully integrated joint brief covering each party’s position, in which each
  23   issue (or sub-issue) raised by a party is immediately followed by the opposing
  24   party’s/parties’ response. The joint brief shall set out each issue (or sub-issue),
  25   including legal argument and direct citation to the evidence, followed seriatim
  26   ____________________
  27   ¹ This Order applies to any motion for certification pursuant to the Fair Labor
       Standards Act, 29 U.S.C. §§ 201, et seq. It also applies to any motion for
  28   decertification of a previously certified class.

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       by the response with respect to that issue (or sub-issue), including legal argument
  2    and direct citation to evidence.
  3         2. Citation to Evidence: All citation to evidence in the joint brief shall be
  4    directly to the exhibit and page number(s) of the evidentiary appendix, (see infra

  5    at ¶ 5), or page and line number(s) of a deposition. Parenthetical explanations
  6    are encouraged. The parties shall cite to relevant evidence to support factual
  7    assertions throughout the joint brief. Failure to cite to evidence in support of
  8    a factual assertion may be deemed the party’s admission that the party lacks
  9    evidence of that fact. Evidence not cited by a party in the joint brief may be
  10   deemed admitted to be irrelevant.
  11        3. Unnecessary Sections: The parties need not include a “procedural
  12   history” section, since the court will be familiar with the procedural history. The

  13   court is also familiar with the general standard for class certification, so that need
  14   not be argued. However, if a party believes a specialized standard is applicable,
  15   the party may brief such a standard. If preliminary issues - such as choice of law -
  16   are in dispute, the parties shall brief such issues in accordance with ¶ 1, supra.
  17        4. Page Limitation: Each separately-represented party shall be limited to

  18   twenty-five (25) pages, exclusive of tables of contents and authorities. Repetition

  19   shall be avoided and, as always, brevity is preferred. Leave for additional space

  20   will be given only in extraordinary cases. The excessive use of footnotes in an
  21   attempt to avoid the page limitation shall not be tolerated. All substantive material,
  22   other than brief argument on tangential issues, shall be in the body of the brief.
  23        5. Evidentiary Appendix: The joint brief shall be accompanied by one
  24   separate, tabbed appendix of declarations and written evidence (including

  25   documents, photographs, deposition excerpts, etc.). See Local Rule 7-6.

  26   Declarations shall set out facts that would be admissible in evidence, and shall
  27   not contain argument. See Local Rule 7-7. Depositions, see Local Rule 32-1,
  28   and physical exhibits shall be lodged separately. The evidentiary appendix shall

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       include a table of contents.
  2         If the evidentiary appendix exceeds 50 pages, the evidence must be separately
  3    bound and tabbed and include an index. If such evidence exceeds 300 pages, the
  4    documents shall be placed in three-ring binders, with an index and with each

  5    item of evidence separated by a divider with a tab on the right side. In addition,
  6    counsel shall provide an electronic copy (i.e., cd, dvd, or flash drive) of the
  7    documents in a single, OCR-scanned, .pdf file with each item of evidence separated
  8    by labeled bookmarks. Counsel shall ensure that all documents are legible.
  9         6. Evidentiary Objections: All necessary evidentiary objections shall be made
  10   in the relevant section(s) of the joint brief.
  11        7. Schedule for Preparation and Filing of Joint Brief: The briefing schedule
  12   for the joint brief shall be as follows:

  13             A. Meet and Confer: In order for a motion for class certification to
  14        be filed in a timely manner, the meet and confer must take place no later
  15        than thirty-five (35) days before the deadline for class certification motions
  16        set forth in the Court’s Case Management and Scheduling Order. It shall
  17        be the responsibility of counsel for the moving party to arrange for this

  18        conference. Counsel for the parties shall meet and confer in person at an

  19        agreed-upon location within the Central District of California to narrow

  20        and crystallize the issues to be argued in the class certification motion.
  21        The parties shall discuss each issue to be raised in the motion, as well as
  22        the law and evidence relevant to that issue, so that the parties’ briefing
  23        reflects that they are fully cognizant of the other side’s position(s). If the
  24        briefing reveals that the parties are not on the same page with respect to

  25        the issues and position(s) presented, the motion shall be stricken.

  26             B. No later than seven (7) days after the meet and confer, the moving
  27        party shall personally deliver or e-mail to the opposing party an electronic
  28        copy of the moving party’s portion of the joint brief, together with the

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            moving party’s portion of the evidentiary appendix.
  2              C. No later than fourteen (14) days after receiving the moving party’s
  3         papers, the opposing party shall personally deliver or e-mail to the moving
  4         party an electronic copy of the integrated motion, which shall include the

  5         opposing party’s portion of the joint brief, together with the opposing party’s
  6         portion of the evidentiary appendix.
  7              D. No later than two (2) days after receiving the integrated version of
  8         the motion and related papers, the moving party shall finalize it for filing.
  9         The moving party may not make any further revisions to the joint brief other
  10        than finalizing the document for filing. Once finalized, the joint brief shall be
  11        provided to the opposing party’s counsel who shall sign it and return it to the
  12        moving party’s counsel no later than the end of the next business day. The

  13        moving party’s counsel shall sign and electronically file the joint brief, the
  14        evidentiary appendix, and joint appendix of undisputed and disputed facts
  15        no later than one business day after receiving the opposing party’s signed
  16        copy. The joint brief shall be accompanied by a Notice of Motion and
  17        Motion for Class Certification, and shall be calendared pursuant to the

  18        Local Rules.

  19             E. Supplemental Memorandum: After the joint brief is filed, each

  20        party may file a supplemental memorandum of points and authorities no
  21        later than fourteen (14) days prior to the hearing date. The supplemental
  22        memorandum shall not exceed ten (10) pages in length. No other separate
  23        memorandum of points and authorities shall be filed by either party in
  24        connection with the motion for class certification.

  25        8. Failure to Comply with this Order: If it appears from the joint brief

  26   that the parties have not discharged their meet and confer obligations in good
  27   faith, that the parties have not worked to fully integrate the document, or that
  28   the parties have otherwise failed to fully comply with this Order, the motion

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        shall be stricken, and the parties shall be required to repeat the process. If it
  2     appears that one (or more) of the parties is primarily responsible for the failure
  3     to properly file an adequate joint brief, the primarily responsible party or parties
  4     shall be subject to appropriate sanctions.

  5        IT IS SO ORDERED.
  6
       DATED: August 31, 2020                                      /s/
  7                                                       Fernando M. Olguin
                                                       United States District Judge
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